Rochester Drug Co‐Operative, Inc.
Case Number 20‐20230
Notes to Third Quarter 2023 Post Confirmation Report

With respect to certain information contained in the report filed with the court, the Liquidating Trustee
states the following:

    1) In Part 3 of the report, information regarding General Unsecured Claims are listed as $0 because
       many General Unsecured Claims are unliquidated and the total available for distribution remains
       subject to collections and litigation recoveries that are not easily quantifiable. The Liquidating
       Trustee is undertaking a claims analysis and collection efforts, and will provide the information
       on future quarterly post confirmation report(s).




 Case 2-20-20230-PRW, Doc 2130-1, Filed 10/23/23, Entered 10/23/23 20:22:25,
   Description: Notes to Third Quarter 2023 Post Confirmation Report, Page 1 of 1
